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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )
VS.                                            )   CR. NO. 06-00212-CG
                                               )
HEATHER CHRISTINE REEVES,                      )
                                               )
       Defendant.                              )

                                           ORDER

       The United States having moved to dismiss the indictment on the ground that the defendant

has successfully competed the pretrial diversion program, the Indictment filed on September 28,

2006 against defendant Heather Christine Reeves is hereby DISMISSED with prejudice.

       DONE and ORDERED this 26th day of August, 2008.




                                              /s/ Callie V. S. Granade
                                            CHIEF UNITED STATES DISTRICT JUDGE
